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                      EXHIBIT $
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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NEW YORK
__________________________________________

JOHN WALKER, JR.,

                   Plaintiff,                      DECISION & ORDER
            v.
                                                   22-cv-00520-MAV
THE CITY OF BUFFALO, THE COUNTY
OF ERIE, MICHAEL G. GUADAGNO,
JOHN MONTONDO, LINDA J. FIAL AS
EXECUTOR FOR THE ESTATE OF ROBERT
GRABOWSKI, MARTIN BULLOCK AS
EXECUTOR FOR THE ESTATE OF JAMES E.
HUNTER, JENNIFER FLANNERY AS
ADMINISTRATOR FOR THE ESTATE OF
ROBERT F. ARNET, JENNIFER FLANNERY
AS ADMINISTRATOR FOR THE ESTATE OF
FRANK C. DEUBELL, JENNIFER FLANNERY AS
ADMINISTRATOR FOR THE ESTATE OF LEO J.
DONOVAN, JENNIFER FLANNERY AS
ADMINISTRATOR FOR THE ESTATE OF
FRANCIS M. MANISTA, AND DAWN
M. DIRIENZO AS EXECUTOR FOR THE
ESTATE OF PAUL R. DELANO,

                  Defendants.
____________________________________

                                INTRODUCTION

      Plaintiff John Walker, Jr. commenced the instant action on July 6, 2022. ECF

No. 1. The only claim presently before the Court from Plaintiff’s Amended Complaint,

which is the operative pleading, is a Monell claim against Defendant County of Erie

based on policies of the Erie County District Attorney Office (“ECDA” or the “DA’s

Office”). ECF No. 78. Trial began on March 18, 2025. This Decision and Order

addresses the following three of the remaining motions in limine¸ rulings on which



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the Court previewed during the pretrial conference on the morning of March 17.

          x   The County’s motion in limine to preclude “certain Monell
              evidence,” ECF No. 222;

          x   The County’s motion in limine to preclude references to People v.
              Ashley, ECF No. 229; and

          x   Walker’s motion in limine to admit summaries of voluminous
              evidence, ECF No. 230-5.

                                   BACKGROUND

      The factual background of this matter is set forth in detail in the Court’s

Decisions and Orders dated January 14, 2025, ECF No. 213 (“SJ Order”), and March

17, 2025, ECF No. 307 (“First MIL Order”), familiarity with which is assumed for

purposes of the instant Decision and Order. As was the case in the First MIL Order,

this Decision and Order makes rulings with respect to Walker’s case only.

                                LEGAL STANDARD

      As the Supreme Court has noted, “[a]lthough the Federal Rules of Evidence do

not explicitly authorize in limine rulings, the practice has developed pursuant to the

district court’s inherent authority to manage the course of trials.” Luce v. United

States, 469 U.S. 38, 41 n.4 (1984). Indeed, “[t]he purpose of an in limine motion is to

aid the trial process by enabling the Court to rule in advance of trial on the relevance

of certain forecasted evidence, as to issues that are definitely set for trial, without

lengthy argument at, or interruption of, the trial.” Palmieri v. Defaria, 88 F.3d 136,

141 (2d Cir. 1996).

      When granted, motions in limine operate to exclude inadmissible or prejudicial

evidence before it is actually offered at trial. Griffith v. Goodyear Dunlop Tires N. Am.

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Ltd., No. 11-CV-761S, 2018 WL 4658721, at *1 (W.D.N.Y. Sept. 28, 2018). The Court

“should exclude evidence on a motion in limine only when the evidence is clearly

inadmissible on all potential grounds.” White v. CSX Transp., Inc., No. 19-CV-500SR,

2024 WL 3228158, at *1 (W.D.N.Y. June 28, 2024) (citing United States v.

Ozsusamlar, 428 F. Supp. 2d 161, 164 (S.D.N.Y. 2006)). Thus, “courts considering a

motion in limine may reserve judgment until trial, so that the motion is placed in the

appropriate factual context.” United States v. Van Putten, No. 04 CR. 803 (PKL), 2005

WL 612723, at *3 (S.D.N.Y. Mar. 15, 2005). Either way, “the ruling is subject to

change when the case unfolds . . . . [E]ven if nothing unexpected happens at trial, the

district judge is free, in the exercise of sound judicial discretion, to alter a previous in

limine ruling.” Luce, 469 U.S. at 41–42.

                                     DISCUSSION

       Unless otherwise specified, denials of motions are without prejudice. All

rulings acknowledge that circumstances may evolve during trial, particularly given

the abstract targets of many of the motions.

I.     Excluding “Certain Monell Evidence” (ECF No. 222)

       Walker seeks to offer many pieces of evidence, in the form of judicial decisions

and appellate briefs in other criminal cases and newspaper articles, showing

instances of misconduct or complaints of misconduct by prosecutors of the ECDA over

the period between 1966 and 1988. See ECF 268 at 1. The County’s motion to preclude

certain alleged municipal policy evidence makes three principal arguments: (1)

judicial decisions and newspaper articles are hearsay and should be precluded; (2)



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Walker should be precluded from introducing factually dissimilar and temporally

removed matters into evidence; and (3) that before Walker’s case references a

purported constitutionally deficient policy or prior policy or prior practice, that

Plaintiff’s counsel should make a tender of proof outside the presence of the jury. ECF

No. 222-1.

      The County’s motion is GRANTED IN PART AND DENIED IN PART.

   A. Walker’s Theories of Causal Municipal Policies

      There are several theories by which a plaintiff can establish a municipal

“policy” or “custom” under Monell:

      (1) a formal policy officially endorsed by the municipality; (2) actions
      taken by government officials responsible for establishing the municipal
      policies that caused the particular deprivation in question; (3) a practice
      so consistent and widespread that, although not expressly authorized,
      constitutes a custom or usage of which a supervising policy-maker must
      have been aware; or (4) a failure by policymakers to provide adequate
      training or supervision to subordinates to such an extent that it amounts
      to deliberate indifference to the rights of those who come into contact
      with the municipal employees.

Jones v. Westchester Cnty, 182 F. Supp. 3d 134, 158 (S.D.N.Y. 2016) (quotations

omitted); see Iacovangelo v. Corr. Med. Care, Inc., 624 F. App’x 10, 13 (2d Cir. 2015);

Jones v. Town of East Haven, 691 F.3d 72, 81 (2d Cir. 2012).

      In opposition to the County’s instant motion, Walker states that he will

introduce evidence to support three theories of Monell liability:

       (i) the prosecutorial misconduct resulted from ECDA policy and/or
      widespread custom or practice; (ii) the prosecutorial misconduct
      resulted from ECDA’s deliberate indifference to the fair-trial rights of
      criminal defendants and the ‘anything-goes’ attitude they likely
      engendered; and (iii) the Brady violations resulted from inadequate
      training.

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ECF No. 268 at 2. Walker’s opposition characterizes his second theory as the ECDA’s

“deliberate indifference based on a failure to discipline.” Id. Walker’s position

implicates the ECDA having a widespread practice of ratifying unconstitutional

conduct by its employees, the third listed theory reiterated above in Jones v.

Westchester Cnty, and being deliberately indifferent to the constitutional rights of

others as shown through failures to adequately train, or to supervise or discipline,

the fourth listed theory reiterated above in Jones.

      To show a policy or custom through a “widespread practice,” a plaintiff must

attribute a subordinate’s conduct to the actions or omissions of higher-ranking

officials with policymaking authority. Amnesty America v. Town of West Hartford,

361 F.3d 113, 126 (2d Cir. 2004) (quotation omitted). To do so, a plaintiff may show

that (i) a “policymaker ordered or ratified the subordinate[’s] actions,” or (ii) “the

policymaker was aware of a subordinate’s unconstitutional actions, and consciously

chose to ignore them, effectively ratifying the actions.” Id. at 126. A plaintiff may also

show the existence of de facto customs or policies by citing decisions in other cases

that contain similar allegations. See Miller v. Cnty. of Monroe, No. 23-CV-06649-FPG,

2024 WL 2804435, at *4 (W.D.N.Y. May 31, 2024) (citing Gaston v. Ruiz, No. 17-CV-

1252, 2018 WL 3336448, at *6 (E.D.N.Y. July 6, 2018)); see, e.g., Isaac v. City of New

York, No. 16-CV-4729 (KAM), 2018 WL 5020173, at *17 (E.D.N.Y. Aug. 6, 2018)

(finding that other court cases could not establish a de facto policy or custom because

they involved dissimilar misconduct, were resolved by settlement, or the city

prevailed).

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       A failure to train theory, and a failure to supervise or discipline theory, are cut

from the same cloth of “deliberate indifference.” E.g., Miller, 2024 WL 2804435; Buari

v. City of New York, 530 F. Supp. 3d 356, 402 (S.D.N.Y. 2021) (“Buari has also

plausibly alleged a failure by the NYPD to train, supervise, and discipline. As a

threshold matter, Buari plausibly has alleged deliberate indifference.”). Deliberate

indifference is a “stringent standard of fault,” beyond mere negligence, and requires

proof that a municipal actor disregarded a known or obvious consequence of his

action.” Connick v. Thompson, 563 U.S. 51, 61 (2011) (quotation omitted); Amnesty

Am., 361 F.3d at 128 (stating evidence must establish “that a policymaking official

had notice of a potentially serious problem of unconstitutional conduct, such that the

need for corrective action or supervision was “obvious,” . . . and the policymaker’s

failure to investigate or rectify the situation evidences deliberate indifference, rather

than mere negligence or bureaucratic inaction”). A municipality’s “‘policy of inaction’”

in light of notice that its program will cause constitutional violations ‘is the functional

equivalent of a decision by the [municipality] itself to violate the Constitution.’”

Connick, 563 U.S. 51 at 61–62 (quoting City of Canton, Ohio v. Harris, 489 U.S. 378,

385 (1989) (O’Connor, J., concurring in part and dissenting in part)).

       Under the umbrella of “deliberate inference,” theories of a failure to train on

the one hand, and failure to supervise or discipline on the other, part ways to

“emphasize different facts and require different showings to establish deliberate

indifference.” Rodriguez v. City of New York, 607 F. Supp. 3d 285, 293 (E.D.N.Y. 2022)

(quotation omitted). “Under the failure to train theory, a municipality may be liable



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‘when city policymakers are on actual or constructive notice that a particular

omission in their training program causes city employees to violate citizens’

constitutional rights . . . [but] the policymakers choose to retain that

program.’” Buari, 530 F. Supp. 3d at 399 (alterations in original) (quoting Connick,

563 U.S. at 61). “Under the failure to supervise or discipline theory, a plaintiff must

show that the municipality failed to adequately supervise or discipline its employees

(thereby implicitly encouraging or ratifying their unlawful conduct) . . . [and] that

such a failure of supervision or discipline was tantamount to deliberate

indifference.” Id. (alteration in original) (quotation omitted).

      Regardless of the differences amongst a failure to train theory, a failure to

discipline or supervise theory, and a theory of a widespread practice, “to prevail on a

Monell claim, a plaintiff must also show ‘a direct causal link between [the] municipal

policy or custom and the alleged constitutional deprivation.’” Miller, 2024 WL

2804435, at *8 (quoting City of Canton, 489 U.S. at 385); see City of St. Louis v.

Praprotnik, 485 U.S. 112, 122 (1988) (“Governments should be held responsible when,

and only when, their official policies cause their employees to violate another person’s

constitutional rights.”). The municipal policy, whatever its type, must be the “moving

force” of the constitutional violation. Monell, 436 U.S. at 694. ‘[T]he mere invocation

of the ‘pattern’ or ‘plan’ [will] not suffice without this causal link.’” Batista v.

Rodriguez, 702 F.2d 393, 397 (2d Cir. 1983). The Supreme Court has repeatedly

emphasized the importance of proving direct causation, saying “our first inquiry in

any case alleging municipal liability under § 1983 is the question whether there is a



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direct causal link between a municipal policy or custom and the alleged constitutional

deprivation.” City of Canton, 489 U.S. at 385 (emphasis added).

   B. Factually Dissimilar Matters

      The County first seeks to preclude municipal policy evidence that is factually

dissimilar to the constitutional violations alleged. ECF No. 222-1 at 4–8. Walker

responds that “[f]rom the ECDA’s abject failure to discipline prosecutors for

misconduct of any kind despite blistering criticism of its prosecutors for egregious

misconduct, the jury may infer a policy of deliberate indifference and an anything-

goes atmosphere that was a substantial cause of [Walker’s] wrongful conviction[].”

ECF No. 270 at 1. Walker’s counsel has repeatedly described their failure to discipline

theory as intending to show “an anything-goes” environment at the ECDA, and that

the ECDA customs create the inference that prosecutors should “win by any means

necessary,” which in turn caused the constitutional violations at issue here. In an

attempt to do so, Walker has proffered several specific instances of misconduct

ranging widely in subject matter, and the subsequent failures of the ECDA to

discipline the attorney at issue, to prove his “anything-goes,” “atmosphere-of-

lawlessness” theory.

      At the outset, cases binding on this Court establish that a plaintiff is not

limited to proving “deliberate indifference” through a pattern of specific failures to,

for example, discipline its employees. See Vann v. City of New York, 72 F.3d, 1040 (2d

Cr. 1995); Gentile v. County of Suffolk, 926 F.2d 142 (2d Cir. 1991); see also Jones,

691 F.3d at 82 (“There are a number of different ways in which, given sufficient



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evidence, Plaintiff might have satisfied the burden of showing municipal liability

under the standards of Monell.”). As will be discussed further below, Walker has

proffered other evidence in the form of, at least, witness testimony and statements of

a party opponent intending to show the ECDA had essentially no protocols or policies

on attorney discipline and that attorneys in the office during the relevant period could

not recall any instances of anyone being disciplined.

      However, when a plaintiff does seek to prove that a municipality was

deliberately indifferent to the constitutional rights of others through a pattern of “bad

acts” and/or that the municipality had a widespread practice of ratifying behavior

that violated the constitution, the other acts considered must be sufficiently similar

to the type of constitutional violations alleged. E.g., Iacovangelo, 624 F. App’x at 14

(examining cases for evidence of a “custom of not providing adequate medical

supervision for inmates going through drug or alcohol withdrawal”).

      Jones v. Town of E. Haven, a case cited by Walker, provides an instructive

example. In Jones, the Second Circuit reversed a jury verdict in favor of plaintiff,

finding that the evidence was insufficient as a matter of law to prove that a town

policy had caused the alleged unconstitutional shooting of an African-American male

by the police that resulted in his death. 691 F.3d. at 74, 85. The victim’s mother was

the plaintiff, and she argued that her son’s shooting was caused by, among other

claims, “the Town’s custom, policy, or usage of deliberate indifference to the rights of

black people.” Id. at 74. The Second Circuit, viewing the evidence at trial in the light

most favorable to the plaintiff contemplated several ways that she could have proved



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her claim but that the evidence was not sufficient under any possibility. See id. at

82–85. As the Second Circuit described:

      One [way] would be to show a sufficiently widespread practice among
      police officers of abuse of the rights of black people to support reasonably
      the conclusion that such abuse was the custom of the officers of the
      Department and that supervisory personnel must have been aware of it
      but took no adequate corrective or preventive measures (or some
      combination of the two). Another might be that officers of the
      Department expressed among themselves an inclination to abuse the
      rights of black people with sufficient frequency or in such manner that
      the attitude would have been known to supervisory personnel, which
      then took no adequate corrective or preventive steps. A third might be a
      showing of deliberate indifference on the part of supervisory personnel
      to abuse of the rights of black people, which was communicated to line
      officers so as to give them the sense that they could engage in such abuse
      of rights without risking appropriate disciplinary consequences. The
      trial evidence was not sufficient to support a finding against the Town
      on any such theory.

Id. at 82. As plain from the face of the Second Circuit’s reasoning, each reference to

possible proof through a pattern of specific instances of conduct is qualified by

evidence of “the abuse of the rights of black people”—matching what was alleged to

have occurred in the case of the plaintiff’s son. Id.

      Notably, the Second Circuit went on to state,

              The evidence, construed (as it must be) in the manner most
      favorable to the Plaintiff, unquestionably showed instances of
      reprehensible and at times illegal and unconstitutional conduct by
      individual officers of the [police department]. But such a showing is not
      a sufficient basis for imposing liability on the municipality. To justify
      imposition of liability on the municipality, the Plaintiff needed to show
      that her loss was attributable to a custom, policy, or usage of the Town
      or its supervisory officials.

Id. (emphasis added). Because the trial evidence failed to make such a showing, the

Second Circuit reversed. Id. at 82, 85.



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      Walker attempts to broaden the scope of other specific acts by ECDA

prosecutors to any and all types of misconduct to prove his deliberate indifference

theory for failure to discipline. Yet, Walker has pointed the Court to no authority, nor

has the Court discovered any, that permits a virtually indiscriminate universe of

“other bad acts” of municipal employees to demonstrate the municipality’s pattern in

failing to act. Walker does cite to several cases that, he asserts, stand for the

proposition that “the tolerated misconduct need not be the same as the misconduct in

the plaintiff’s case.” ECF 268 at 10. The Court does not agree that these cases widen

the scope of permissible municipal policy evidence beyond that articulated below.

      In Cash v. Cnty of Erie, a failure-to-train case, the Second Circuit found that a

single prior incident of invited sexual contact between a female prisoner and prison

guards placed the municipality on notice that its training in this area was inadequate.

654 F.3d 324, 337–38 (2d Cir. 2011). “However, that holding was based on a state

penal statute that ‘pronounces prisoners categorically incapable of consenting to any

sexual activity with guards and subjects guards to criminal liability for such

conduct.’” Castilla v. City of New York, No. 09 CIV. 5446 SHS, 2012 WL 5510910, at

*5 (S.D.N.Y. Nov. 14, 2012) (distinguishing Cash). “This statutory framework

extinguished any distinction between types of sexual contact between guards and

prisoners, allowing substantially different forms of sexual misconduct to constitute a

pattern of similar constitutional violations.” Id. Even Cash’s expansion of the

universe of prior admissible conduct halted at the boundary of “sexual misconduct”—

any and all types of misconduct by correctional officers were not contemplated.



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Walker makes no attempt to argue that similar statutory conditions apply or why the

universe of his municipal policy should extend to encompass all types of prosecutorial

misconduct.

      In Vann v. City of New York, a failure-to-supervise case, the plaintiff argued

that an officer’s use of excessive force violated his right to due process, and “that in

light of [the officer’s] history of abusive conduct, the [Police] Department’s failure to

monitor [him] constituted deliberate indifference to the public’s due process rights.”

72 F.3d at 1041. The district court granted summary judgment to the defendants,

concluding “the existence of a departmental system for supervising policemen

established as a matter of law that appellees had not been deliberately indifferent to

the rights of individuals.” Id. at 1048. The Second Circuit reversed, explaining that

the mere existence of a “system” of supervision did not preclude a finding of deliberate

indifference. Id. at 1051. Walker points to the phrase “[the] Department’s general

methods of dealing with problem policemen” to argue for the inclusion of all types of

misconduct here. Vann’s reasoning is not nearly as broad as Walker’s out-of-context

quote suggests.

      The plaintiff in Vann argued that the officer who used excessive force on him

had a history of abusive conduct, and that the police department was deliberately

indifferent “to the need to monitor policemen who had a known history of abusive

conduct and were returned to active duty.” Id. at 1041. The plaintiff did “present[]

evidence of the Department’s general methods of dealing with problem policemen,”

as Walker quotes, but, notably, this evidence did not involve introducing instances of



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other types of police misconduct that plaintiff then argued proved a general failure to

supervise. In fact, the Second Circuit’s description of the plaintiff’s municipal policy

evidence did not include any other specific example of a failure to supervise a police

officer. See id. at 1049–51 (also noting, “[a] § 1983 plaintiff injured by a police officer

may establish the pertinent custom or policy by showing that the municipality,

alerted to the possible use of excessive force by its police officers, exhibited deliberate

indifference.” (emphasis added)).

       Instead, the plaintiff’s evidence involved a detailed description of the police

department’s policies on supervision, particularly its protocols related to monitoring

and handling officers when a complaint is made against them. Id. at 1050. As the

Second Circuit described, “[t]he deposition testimony indicated that, after a problem

officer was restored to full-duty status, the Department’s supervisory units paid

virtually no attention to the filing of new complaints against such officers even though

such filings should have been red-flag warnings of possibly renewed and future

misconduct.” Id. The Second Circuit held the following:

       In sum, a rational jury could find that, where an officer had been
       identified by the police department as a “violent-prone” individual who
       had a personality disorder manifested by frequent quick-tempered
       demands for “respect,” escalating into physical confrontations for which
       he always disavowed responsibility, the need to be alert for new civilian
       complaints filed after his reinstatement to full-duty status was obvious.
       The jury could also rationally find that the Department's election to staff
       DAO with the equivalent of just 1¼ employees to monitor 200 problem
       officers, together with the systematic lack of communication to the
       supervisory divisions of information with regard to new civilian
       complaints, including PSU's routine failure, despite its expertise, to
       instruct commanders to relay that information reflected a deliberate
       indifference on the part of the municipal defendants to the dangers
       posed by problem policemen who had been restored to full-duty service.

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Id. at 1050–51. The causal municipal policy in Vann was not established through a

series of disparate, or even similar, instances of police misconduct as Walker is

attempting to introduce here. The Court found that the police department had certain

blanket systems and protocols for dealing with police misconduct and when that

deficient system was applied to the officer at issue, there was an obvious need for a

higher level of supervision with respect to that officer in particular.

      The Second Circuit in Vann did not rule on, but discussed, the issue of

causation. It stated:

      The issue of causation remains to be decided by the jury. Certainly the
      Department’s retention of [the officer] as a police officer despite his
      abusive history empowered him to make arrests even while off duty. And
      it would be entirely permissible for the jury to find that the
      Department’s restoration of [the officer] to full-duty status and its
      indifference to the postreinstatement civilian complaints against him
      caused him to feel entitled, whether on duty or off, to compel the
      “respect” he demanded through the use of violence.

Id. at 1051. The idea that the officer at issue may have “felt entitled” to continue past

misconduct due to the manner in which he was supervised is at least reminiscent of

Walker’s “lawlessness” argument. The “lawlessness” arguably contemplated in Vann,

however, is specific to the officer’s type of misconduct—that the officer himself was

prone to excessive force and then after the police department was put on notice of the

officer’s history, he was emboldened by its lack of supervision to continue doing the

same thing again and again, ultimately violating the plaintiff’s constitutional rights

through the use of excessive force as his history made obvious would occur. There

were no other police officers discussed, and there is no other form of misconduct

discussed beyond excessive force, by the officer at issue or otherwise. See id. By

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contrast, Walker’s attempted catch-all policy theory of an “anything-goes attitude” or

“atmosphere of lawlessness” at the ECDA is of a vastly different nature. To the

Court’s view, Walker’s “lawlessness” theory, as a means of introducing an

indiscriminate set of specific bad acts by prosecutors to establish deliberate

indifference would seem to overrun the Monell doctrine if permitted.

        That said, Walker will have the opportunity to show the ECDA’s general

policies, or lack thereof, regarding discipline and training. Walker has proffered

evidence regarding ECDA’s lack of attention or commitment to disciplining or

training assistant district attorneys—such as witness testimony of the lack of formal

training, failures to recall any instances of attorney discipline, and admissions of a

party opponent during discovery. Like the plaintiffs in Vann and Gentile, as footnoted

below, such evidence can support a jury’s reasonable inference of a deliberate

indifference theory.1 But if he intends to offer evidence of deliberate indifference


1 In Gentile v. County of Suffolk, a failure to discipline case, the Second Circuit rejected the County’s

argument that there was insufficient evidence to sustain a Monell claim against it because, as the
district court noted:

        The appropriate inquiry in this Monell-type claim focuses on the actual or constructive
        knowledge of the municipality as well as upon the implied knowledge and reliance of
        municipal employees on that practice. Not only does the SIC report tend to establish
        the existence of a municipal policy or practice, but it also supports plaintiffs’ allegation
        that the police and the District Attorney’s Office were likely . . . to consistently ignore
        evidence of misconduct on the part of the defendant officers and to sanction and cover
        up any wrongdoing connected with the Gentile and Rydstrom investigation.

926 F.2d 142, 153 (2d Cir. 1991). The SIC report referenced was issued by a police commission after
an audit of the County Police Department and District’s Attorney’s Office. Id. at 146. The report was
heavily redacted, and the jury received excerpts stating, for example, that the commission found the
County departments had “systematically failed over a period of years adequately to investigate and to
discipline cases of employee misconduct that had been brought to their attention,” and also that the
police commission “was confident that the ‘vast majority of police and prosecutorial personnel in
Suffolk are persons of ability, industry and integrity.’” Id.
        Other specific acts of different types of a misconduct were not contemplated and instead the
focus, and apparently an exacting one, was opinion evidence about the County’s policies as a general

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based on the ECDA’s response to specific acts of misconduct, those other specific acts

must, at a minimum, be of the same type as the constitutional violations he alleged.

        The Court reiterates that establishing a pattern of other failures to discipline

or supervise is not always required to prove a policy of deliberate indifference. As

discussed, the Second Circuit has upheld Monell claims where the specific

circumstances of the constitutional violation alleged by plaintiff is deemed an obvious

result of a municipality’s established, general approach to training, supervision, or

discipline without a showing of other similar instances where the municipality failed

to train, supervise, or discipline. See, e.g., Vann v. City of New York, 72 F.3d, 1040 (2d

Cr. 1995); Gentile v. County of Suffolk, 926 F.2d 142 (2d Cir. 1991). Where

establishing the municipality’s “approach” in the first instance is attempted to be

proved through other comparable circumstances, however, it is clear to the Court that

a basic semblance of factual similarity to the plaintiff’s alleged constitutional

violation is required. See Walker, 974 F.2d at 299 (“While it is reasonable for city



matter. Contrary to Walker’s arguments, the Court does not read Gentile to permit the introduction of
other specific acts of ECDA prosecutors, which do not relate to one of his three constitutional violations
alleged, and understands binding Monell authority to require a narrower focus to permit the
introduction other specific acts of misconduct as a matter of law. See also Fed. R. Evid. 403, 404(b).
         Walker also cites Batista v. Rodriquez for the proposition that “the persistent failure to
discipline subordinates who violate civil rights could give rise to an inference of an unlawful municipal
policy of ratification of unconstitutional conduct within the meaning of Monell.” ECF No. 268 at 11
(quoting 702 F.2d at 397). However, the “persistent” failures contemplated by Batista were of the same
nature as the underlying violation alleged. Batista, 702 F.2d at 398 (“[A] causal connection between
the City’s policy of inaction and the arrests and assault might permissibly be implied” from “conduct”
“such as inadequate training and supervision of prior instances of unusual brutality indicating
deliberate indifference or gross negligence on the part of the municipal officials in charge.” (emphases
added)). As another example, the Second Circuit in Walker v. City of New York, the Second Circuit
reversed a district court’s grant of defendant’s motion to dismiss plaintiff’s Monell claim for failure
supervise and failure to train, to allow plaintiff to pursue further discovery “to determine whether
there was a practice of condoning perjury (evidenced perhaps by a failure to discipline for perjury) or
a pattern of police misconduct sufficient to require the police department to train and supervise police
officers to assure they tell the truth.” 974 F.2d 293, 300 (2d Cir. 1992))).

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policymakers to assume their employees possess common sense, where there is a

history of conduct rendering this assumption untenable, city policymakers may

display deliberate indifference by doing so.”).

      Moreover, as to proving deliberate indifference based on the obviousness that

the specific violation of plaintiff’s constitutional rights was likely to occur due to an

established municipal policy, the Second Circuit has also cautioned that “[w]here the

proper response—[for example,] to follow one’s oath, not to commit the crime of

perjury, and to avoid prosecuting the innocent—is obvious to all without training

or supervision, then the failure to train or supervise is generally not ‘so likely’ to

produce a wrong decision as to support an inference of deliberate indifference by [ ]

policymakers to the need to train or supervise.” Id. at 299–300.

      At the end of the day, even flagrant and obvious misconduct by a municipal

employee must be directly caused a municipal policy to impose liability on the

municipality under section 1983. See Monell, 436 U.S. at 691 (explicitly holding that

municipalities are not vicariously liable for the torts of their employees under

respondeat superior); see also, e.g., Jones, 691 F.3d at 82 (acknowledging the trial

evidence “unquestionably showed instances of reprehensible and at times illegal and

unconstitutional conduct by individual officers of the [police department]. But such a

showing is not a sufficient basis for imposing liability on the municipality.”); Collins

v. City of New York, 923 F. Supp. 2d 462, 478–79 (E.D.N.Y. 2013) (“[A]llegations of

Brady violations are unhelpful [to plaintiff’s pleaded failure-to-train theory]. Better

training as to what Brady requires might increase officer awareness of what



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information must be disclosed to prosecutors, but it could not plausibly have

prevented the egregious conduct alleged here because Vecchione, according to the

allegations, was well aware of what Gerecitano and Hernandez had done to secure

Oliva’s testimony.”); Gonzalez v. Waterbury Police Dep’t, No. 3:12-CV-478 (SRU), 2016

WL 953211, at *3 (D. Conn. Mar. 11, 2016) (“Though there was ample evidence of

unconstitutional conduct by individual officers, there was no evidence that such

conduct was attributable to a custom or policy of the department.”).

      For the reasons discussed, evidence of other specific acts of misconduct that

Walker intends to admit to support any of his three identified theories of a municipal

policy must be sufficiently similar to the underlying constitutional violations alleged.

      Moreover, the Court notes that a failure to train theory—which Walker raises

with respect to his alleged Brady violation—requires a more rigorous matching than

the above to prove a municipal policy was the “moving force” behind the constitutional

violation due to the requirement to point to a specific deficiency in a training program

that the policymaker was on notice of and failed to correct. See, e.g., Connick, 563

U.S. at 62–63 (disregarding evidence of four earlier reversals of convictions,

concluding that they “could not have put [the district attorney’s office] on notice that

the office’s Brady training was inadequate with respect to the sort of Brady violation

at issue here. None of those cases involved failure to disclose blood evidence, a crime

lab report, or physical or scientific evidence of any kind.” (emphasis added)); O’Neal

v. City of New York, 196 F. Supp. 3d 421, 436 (S.D.N.Y. 2016), aff'd sub nom. O’Neal

v. Morales, 679 F. App’x 16 (2d Cir. 2017) (“The cases O’Neal cites broadly deal with



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Brady violations but would not have provided notice to the City of the need to train

prosecutors in the NYCDA office to avoid Brady violations based on a failure to make

a written record of an allegedly exculpatory statement by an individual during an

identification procedure that did not testify at trial or witness the crime and to give

the full statement to the defense.” (emphasis added)).

   C. Temporally Removed Matters

      The County also argues that Walker must be precluded from introducing any

municipal policy evidence that post-dates the June 1977 trial and that certain

instances that pre-date the trial are inadmissible. The Court begins with the

Supreme Court’s decision in Connick v. Thompson, which states that a plaintiff

cannot point to “contemporaneous or subsequent” violations to show that a municipal

policy caused a particular violation. 563 U.S. at 63 n.7.

      In Connick, the district attorney’s office conceded that prosecutors violated

Brady by failing to disclose a crime lab report when prosecuting Thompson for

attempted armed robbery. Id. at 54. Thompson later sued the district attorney under

a Monell failure-to-train theory, pointing to four instances of overturned convictions

during the 10 years preceding his armed robbery trial due to the prosecutor’s Brady

violations, and asserting that “up to four prosecutors may have been responsible for

the nondisclosure of the crime lab report [at issue], and . . . withheld additional

evidence in his armed robbery” trial and in his subsequent murder trial. Id. at 62, 63

n.7. As discussed above, the Supreme Court disregarded the four prior Brady




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violations because they were not sufficiently similar to the withholding of the crime

lab report in plaintiff’s robbery trial. Id. at 62.

       The Supreme Court then concluded that, as a matter of law, the allegations

that four separate prosecutors withheld Brady materials at the time of the robbery

trial, and that the same four prosecutors all again committed Brady violations in

plaintiff’s subsequent trial “‘cannot establish a pattern of violations that would

provide “notice to the cit[y] and the opportunity to conform to constitutional dictates.’”

Id. at 63 n.7 (quotation omitted).

       The crux of this reasoning is Monell’s requirement of direct causation. As

Justice O’Connor stated in a partial concurrence, quoted by the majority in Connick

for the oft-cited preclusion of “contemporaneous and subsequent” violations:

       Thus a § 1983 plaintiff seeking to attach liability to the city for the acts
       of one of its employees may not rest on the employment relationship
       alone; both fault and causation as to the acts or omissions of the city
       itself must be proved. The Court reaffirms these requirements today.
              Where, as here, a claim of municipal liability is predicated upon
       a failure to act, the requisite degree of fault must be shown by proof of a
       background of events and circumstances which establish that the “policy
       of inaction” is the functional equivalent of a decision by the city itself to
       violate the Constitution.

City of Canton, 489 U.S. at 394–95 (emphasis omitted). The Court is not persuaded

by Walker’s argument that limitations on contemporaneous and subsequent

violations apply only to failure-to-train cases. As discussed, failure to train is but one

theory under the umbrella of “deliberate indifference,” all forms of which are

“predicated upon a failure to act.” See id. Justice O’Connor continued:

             Without some form of notice to the city, and the opportunity to
       conform to constitutional dictates both what it does and what it chooses

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      not to do, the failure to train theory of liability could completely engulf
      Monell, imposing liability without regard to fault. Moreover, absent a
      requirement that the lack of training at issue bear a very close causal
      connection to the violation of constitutional rights, the failure to train
      theory of municipal liability could impose “prophylactic” duties on
      municipal governments only remotely connected to underlying
      constitutional requirements themselves.
             Such results would be directly contrary to the intent of the
      drafters of § 1983.

Id. at 395 (1989).

      There are countless cases in the Second Circuit that exclude all instances of

post-constitutional violations as a matter of course. See, e.g., Greene v. City of New

York, 742 F. App’x 532, 536–37 (2d Cir. 2018) (holding that only two of plaintiff’s 36

cases, issued over a twenty-two-year span, could be considered in establishing a

pattern of violations that provided notice to the city of deficient training or

supervision polices because the other 34 cases were all decided after Greene’s trial);

O’Neal, 196 F. Supp. 3d at 435 (holding that only three of plaintiff’s 26 court decisions

allegedly showing that the district attorney’s office had a policy or custom of

deliberate indifference to constitutional violations, particularly to Brady violations

by prosecutors could be considered at the motion to dismiss stage because the other

23 cases “were decided after the events affecting O’Neal”); Rodriguez, 607 F. Supp.

3d at 299–300, 299 n.1 (holding plaintiff did not state a Monell claim for failure to

supervise or discipline because “all but three of the decisions the plaintiff cites post-

date his May 1990 conviction,” and excluding one such judicial decision that was

issued 20 days after plaintiff was convicted); McGrier v. City of New York, 849 F.

App’x 268, 273 (2d Cir. 2021) (“But the personal experiences that McGrier described



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in his deposition post-dated his July 2013 assault, and thus cannot establish a pattern

that the City was aware of in July 2013.”); Collins, 923 F. Supp. 2d at 479 (granting

motion to dismiss where “the litany of other police-misconduct cases are insufficient

to make a plausible case for Monell liability” because, inter alia, they “post-date[d]

[plaintiff's] conviction”).

       Walker’s citations to cases within the Second Circuit in support of his

proposition that instances of prosecutorial misconduct that post-date his 1977 trial

are admissible fall short of doing so. For example, in Collins, the district court held

that evidence of a policymaker’s response to the circumstances that plaintiff alleged

violated his constitutional rights—taking no disciplinary action against the offending

prosecutor and in fact continued to praise him—was admissible to “support an

inference that the violation conformed to a preexisting policy” of similar misconduct.

Collins, 923 F. Supp. 2d at 477.

       Relatedly, in Gentile, the Second Circuit found that the district court did not

abuse its discretion by admitting the aforementioned “SIC Report,” which was

published a few years after the violation of plaintiff’s constitutional rights occurred.

Gentile, 926 F.2d at 151. The full almost-200-page report, dated after the plaintiff’s

conviction, covered about a decade of time and a variety of types of criminal cases,

however, the district court’s 85-page decision evaluating the admissibility of the

report found that “[t]he report also contains material that tends to support plaintiffs’

argument that published criticisms put the County on actual notice as far back as the

mid–1970’s.” Gentile v. Cnty. of Suffolk, 129 F.R.D. 435, 447 (E.D.N.Y. 1990), aff'd,



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926 F.2d 142 (2d Cir. 1991) (citing SIC Report at 20 (“Despite over a decade of

warnings—in the form of court decisions and grand jury and bar association reports—

both the Police Department and the District Attorney’s Office continued to ignore or

to inadequately investigate and punish employee misconduct.”)).

       These cases do not provide solid ground on which Walker can justify that

instances of prosecutorial misconduct that post-date his conviction are admissible for

the purpose of notice to the policymaker that there are risks to constitutional rights

that he must address—particularly in light of the dearth of case law standing for the

opposite principle.

       The only case in this Circuit that the Court could find which expressly

contemplates the admissibility of subsequent constitutional violations is Jones v.

Town of E. Haven, 691 F.3d 72, 84 (2d Cir. 2012). As discussed, the Second Circuit in

Jones found there was insufficient evidence of a causal municipal policy and reversed

a jury verdict in plaintiff’s favor. Id. at 85. In what is plainly dicta, the Second Circuit

stepped through the six pieces of “policy” evidence introduced at trial by plaintiff, who

was seeking relief for the April 1997 killing of her son. Id. at 74, 82–85. The plaintiff

offered evidence of other acts from 1991, 1993, May 1997, 1998, and 2000—the sixth

piece of evidence being her son’s death itself. See id. at 80–85. The Circuit had this to

say about the incident in 2000:

       Snowden’s testimony (accepted as true) about her arrest in 2000
       unquestionably depicted serious extreme hostility on the part of several
       officers to black people. Had there been evidence that superiors of the
       East Haven Police Department received a credible report of such
       conduct and made no investigation, such evidence could perhaps have
       contributed to Plaintiff’s case, even though the incident occurred some

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      three years after the Jones shooting. It is not unreasonable to infer that
      Town officials who were indifferent to such abuse in 2000 might have
      held similar attitudes three years earlier. But we need not rule on
      retroactive attribution of indifference in 2000 to events in 1997. A
      showing of indifference to abuse of the rights of black people would
      depend in part on a showing that, upon receipt of a credible report of
      such abuse, superiors took no investigative or corrective action.

Id. at 84 (emphasis added).

      However, in the 13 years since the Jones decision was issued, the Court has

found only one case that cites Jones for the above proposition. See Kaether v. Armor

Corr. Health Servs., No. 16-62950-CIV, 2017 WL 6507793, at *2 (S.D. Fla. Dec. 11,

2017) (noting that although “[t]he Second Circuit did not rule on the ‘retroactive

attribution of indifference’” its statements about the reasonableness of considering

the 2000 incident were consistent with Eleventh Circuit law).

      Moreover, six years after Jones was issued, the Second Circuit found occasion

to cite Jones for the following proposition—that Jones “conclude[ed] that the plaintiff

“’fell far short of” establishing municipal liability where the ‘evidence showed [only]

two instances, or at the most three, over a period of several years in which a small

number of’ city employees committed violations.” Greene, 742 F. App’x at 537 (quoting

Jones, 691 F.3d at 84.). The “two . . . or at most three” instances considered by the

holding of Jones constituted the two incidents pre-dating the April 1997 shooting,

and, “at most,” the incident from May 1997. See Jones, 691 F.3d at 84.

      Here, Walker has proffered a multitude of judicial decisions, appellate briefs

and case cards, as well as some newspapers articles, that span from 1966 to 1988.

Nearly two-thirds of this evidence involves conduct or notice that occurred after



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Walker was convicted. He has made clear that all of this evidence can be offered for

the non-hearsay purpose of showing notice to the ECDA, who then, Walker will work

to prove, responded by ratifying these prior instances of misconduct or by being

deliberately indifferent to the need to modify training or discipline practices in light

of such prior misconduct.

      Yet as Connick reasoned, evidence of contemporaneous and subsequent

violations must be precluded because the plaintiff is required to show that a

municipality had notice, or an awareness, of employee misconduct and persistently

failed to address the misconduct, and that the municipality’s failure in this regard

caused the underlying constitutional violation in the case. See Connick, 563 U.S. at

62–63 n.7; City of Canton, 489 U.S. at 394–95 (“Where, as here, a claim of municipal

liability is predicated upon a failure to act, the requisite degree of fault must be shown

by proof of a background of events and circumstances which establish that the “policy

of inaction” is the functional equivalent of a decision by the city itself to violate the

Constitution.”).

      Direct causation is the gatekeeper preventing a common law doctrine held to

be consistent with 42 U.S.C. § 1983 from devolving into vicarious liability. See Monell,

436 U.S. at 691 (explicitly holding that municipalities are not vicariously liable for

the torts of their employees under respondeat superior); see also, e.g., Gonzalez, 2016

WL 953211, at *3 (“Though there was ample evidence of unconstitutional conduct by

individual officers, there was no evidence that such conduct was attributable to a

custom or policy of the department.”); Jones, 691 F.3d at 82 (acknowledging the trial



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evidence “unquestionably showed instances of reprehensible and at times illegal and

unconstitutional conduct by individual officers of the [police department]. But such a

showing is not a sufficient basis for imposing liability on the municipality.”). Central

to the concept of causation is the notion that a prior condition produces a subsequent

effect. CAUSATION, Black’s Law Dictionary (12th ed. 2024). Thus, it is axiomatic

that incidents occurring and information available only contemporaneous with or

subsequent to the underlying alleged constitutional violation in a plaintiff’s Monell

claim cannot serve as notice to the policymaker of conditions which caused that

particular violation.

      For all the reasons discussed, Walker has failed to demonstrate that the

evidence of alleged prosecutorial misconduct that occurred after June 9, 1977—when

Walker’s trial ended—can serve the non-hearsay purpose of notice. It must therefore

be excluded.

   D. Forms of Municipal Policy Evidence: Judicial Decisions, Newspaper

      Articles, and Appellate Briefs

      Walker’s proffered municipal policy evidence includes judicial decisions in

other criminal cases involving ECDA prosecutors, appellate briefs filed in those cases,

and newspaper articles reporting on misconduct at the ECDA. The County

unsurprisingly raises issues of hearsay.

      The Court first notes that “[s]tatements and conclusions in court rulings and

documents are inadmissible hearsay absent a relevant exception.” Chevron Corp. v.

Donziger, 974 F. Supp. 2d 362 (S.D.N.Y. 2014); see Blue Cross & Blue Shield of New



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Jersey, Inc. v. Philip Morris, Inc., 141 F. Supp. 2d 320, 323–24 (E.D.N.Y. 2001)

(“Judicial findings in other cases proffered as evidence are generally characterized as

inadmissible hearsay . . . . [because n]o specific exceptions apply under the Federal

Rules of Evidence.” (citing, inter alia, McCormick on Evidence § 318, at p. 894 (3d

ed.1984)); Penree v. Watson, No. 613CV01323MADATB, 2017 WL 3437680, at *3

(N.D.N.Y. Aug. 10, 2017). Courts routinely take judicial notice of documents filed in

other courts, not for the truth of the matters asserted in the other litigation, but to

establish the fact of such litigation and related filings. See Kramer v. Time Warner

Inc., 937 F.2d 767, 774 (2d Cir. 1991).

        Accordingly, the Court will take judicial notice of the following facts from any

relevant policy evidence in this case: type of evidence (newspaper, judicial decision,

brief), date, type of constitutional violation (Brady or summation),2 a short recitation

of the Court’s statement about the particular conduct, and the name of the ECDA

prosecutor involved if mentioned. If the judicial decision is offered as evidence of the

ECDA’s failure to train on specific Brady violations, meaning, that case must, at a

minimum, have been decided before June 1977, see Connick, 563 U.S. at 61, the Court

will take judicial notice of the specific type of Brady violation found in the decision.

Again, these facts taken on judicial notice are not being admitted for the truth of the

matters asserted and the Court will issue a limiting instruction to the jury as such.

To be clear, as contemplated in Walker’s annotated summary chart, these elements


2 Walker’s counsel confirmed at the March 17 pretrial conference that they do not have specific
instances of other Fourth Amendment violations similar to those alleged occurred at Walker’s
preliminary hearing.


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for the non-purpose of notice to the County of prosecutorial misconduct.

      Courts in this Circuit have tended to exclude judicial decisions based on Fed.

R. of Evid. 403, finding that “the prejudice to defendants in admitting a prior judicial

decision significantly outweighed the prior decision’s probative force.” Haynes v.

Acquino, No. 10-CV-355F, 2018 WL 3126725, at *5 (W.D.N.Y. June 26, 2018), aff’d,

771 F. App’x 75 (2d Cir. 2019) (citing Brundidge v. City of Buffalo, 79 F. Supp. 2d 219,

223 n.2 (W.D.N.Y. 1999)). Specifically, courts have explained that “[t]he difficulty in

assessing the probative force of comments by a judge . . . is especially great for a jury,

which may give exaggerated weight to a judge’s supposed expertise on such matters.”

Blue Cross & Blue Shield of New Jersey, Inc., 141 F. Supp. 2d at 324 (addressing the

danger with respect to a judge’s credibility assessment of a witness). Thus,

“[e]xcluding credibility-assessing-statements by judges in other cases avoids the

practical difficulty of weighing judicial opinions against contrary evidence [in the case

at bar].” Id. at 323–24 (citing Margaret A. Berger, et. al, Evidence, 803.28[6](2001));

see also Greycas, Inc. v. Proud, 826 F.2d 1560, 1566 (7th Cir.1987); Zenith Radio Corp

v. Matsushita Elec. Indus. Co., 505 F. Supp. 1125, 1185).

      Walker may introduce such facts from the other cases as would be appropriate

for judicial notice. See Fed. R. Evid. 201(b) (“The court may judicially notice a fact

that is not subject to reasonable dispute because it: (1) is generally known within the

trial court’s territorial jurisdiction; or (2) can be accurately and readily determined

from sources whose accuracy cannot reasonably be questioned.); see also Liberty Mut.

Ins. Co. v. Rotches Pork Packers, Inc., 969 F.2d 1384, 1388 (2d Cir. 1992) (“[a] court



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may take judicial notice of a document filed in another court . . . to establish the fact

of such litigation and related filings.”). But Walker may not present judicial findings

of fact or other prejudicial elements of the other decisions. Haynes, 2018 WL 3126725,

at *5 (citing Carter v. Burch, 34 F.3d 257, 265 (4th Cir. 1994) (stating “judicial

findings of fact present a rare case where, by virtue of their having been made by a

judge, they would likely be given undue weight by the jury, thus creating a serious

danger of unfair prejudice.”) (internal quotation omitted))).

      Walker maintains that in addition to the articles and judicial decisions, he may

offer as evidence “appellate briefs and other court documents credibly alleging and

describing misconduct and quoting trial courts’ criticism of prosecutors.” ECF No. 268

at 4. He argues that “[t]he appellate briefs, in particular, were a form of complaint

that were reliable in that they were made by members of the Bar who had an ethical

responsibility to accurately state the underlying facts and claims for which they had

a good faith basis.” Id.

      While the Court has not found a Second Circuit case directly addressing the

matter, the Court agrees with the Fifth Circuit that

      Because appellate briefs must of necessity refer to what the record
      reflects as distinguished from what the real world facts actually are, and
      because these two sets of facts are not necessarily identical (indeed, they
      may well diverge at crucial junctures), using statements about record
      facts as substantive evidence, i.e., to establish the truth of the matter
      asserted in those statements, is bound to be uncertain in the best of
      circumstances and dangerously misleading in most others.

Hardy v. Johns-Manville Sales Corp., 851 F.2d 742, 745 (5th Cir. 1988). Although the

Court recognizes that Monell does not foreclose consideration of “complaints” of



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misconduct against municipal employees, see, e.g., Vann, 72 F.3d, at 1042 (“the record

showed that [the officer] had been the subject of numerous complaints, lodged by both

colleagues and civilians”),3 beyond judicial decisions explicitly holding certain

misconduct occurred, as Hardy notes, there are many reasons that an appellate trial

lawyer may make certain arguments and the Court finds that it will unnecessarily

confusing for the jury to follow the attorneys down a path to justify or refute why

certain arguments were made. Fed. R. Evid. A defendant’s appellate brief is

fundamentally different from the sort of “colleague and civilian complaints”

considered in Vann. Furthermore, even if the Court were inclined to classify a

defendant’s appellate brief as a “complaint,” here, in most if not all instances, the

corresponding judicial decision explicitly holding certain misconduct occurred is also

offered for admission, which in essence amounts to double counting of the same

violation.

        Appellate briefs filed by an Assistant District Attorney with the ECDA, also

raise issues discussed in Hardy, but there is the potential that statements of fact

made therein are available for admission for the truth of certain matters asserted as




3 See also, e.g., Jenkins v. City of New York, 388 F. Supp. 3d 179, 187–88 (E.D.N.Y. 2019) (“While it is

true that none of the allegations against Zambrano’s use of force were considered substantiated, it is
hard to appreciate how the City considers itself blameless given the impressive history of complaints
against Zambrano and the “uninterested and superficial” investigations that followed.”); Fiacco v. City
of Rensselaer, 783 F.2d 319, 328 (2d Cir. 1986); H.H. v. City of New York, No. 11-CV-4905 (NG) (ST),
2017 WL 3396434, at *8 (E.D.N.Y. Aug. 7, 2017) (finding that unsubstantiated allegations could still
demonstrate deliberate indifference where there was evidence that the investigator was not provided
with the adequate resources, and leads and recommendations for additional investigation were
ignored); Sango v. City of New York, 1989 WL 86995, at *2-3, *14 (E.D.N.Y. July 25, 1989) (holding
that one partially substantiated and three unsubstantiated complaints were sufficient to defeat
summary judgment where plaintiff presented evidence that the investigations were inadequate and
predictable).

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a statement of a party opponent. Rule 801(d)(2)(D) provides that a statement offered

against an opposing party which was made by the party’s agent or employee on a

matter within the scope of that relationship and while it existed is not hearsay. The

Second Circuit has interpreted this provision to allow statements of a party’s attorney

provided that they are: (1) “assertions of fact that are the equivalent of a testimonial

statement by the [client]”; and (2) “inconsistent with similar assertions in a

subsequent trial.” 5 Weinstein's Federal Evidence § 801.30 (quoting United States v.

McKeon, 738 F.2d 26, 33 (2d Cir. 1984)).

      However, the Circuit has stated that “[s]peculations of counsel, advocacy as to

the credibility of witnesses, arguments as to weaknesses in the prosecution’s case or

invitations to a jury to draw certain inferences should not be admitted.” Martinez v.

Port Auth. of N.Y. & N.J., No. 01 CIV. 721 (PKC), 2005 WL 2143333, at *11 (S.D.N.Y.

Sept. 2, 2005), aff’d sub nom. Martinez v. The Port Auth. of New York & New Jersey,

445 F.3d 158 (2d Cir. 2006) (quoting McKeon, 738 F.3d at 33). Further, as it pertains

to several exhibits that Walker has proffered, the Court notes that legal arguments

in briefs or memorandums of law do not constitute assertions of fact. See Alleva v.

N.Y.C. Dep’t of Investigation, 696 F. Supp. 2d 273, 278 (E.D.N.Y. 2010) (“As for the

memorandum of law, legal argument is not evidence.”), aff’d, 413 F. App’x 361 (2d

Cir. 2011) (“We affirm for substantially the same reasons stated by the district court

in its thorough opinion.”).

      Newspaper articles are hearsay excluded by Fed. R. Evid. 802 when offered for

the truth of the matters asserted therein. See, e.g., Jacobson v. Deutsche Bank, A.G.,



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206 F. Supp. 2d 590, 594 (S.D.N.Y. 2002), aff’d, 59 F. App’x 430 (2d Cir. 2003) (“Here,

[the plaintiff] offers Article One, an out-of-court statement made by [the author] to

prove the fact that [the CEO of defendant] made the statements attributed to him

therein. As such, Article One is clearly hearsay.”). Walker maintains that he will offer

the newspaper articles on his exhibit list not for the truth of the matters asserted,

but for the non-hearsay purpose that they put County policymakers on notice of

apparent misconduct by prosecutors. ECF No. 268 at 3. Where a party can show that

newspaper articles are not being offered for the truth of the matter, a Court may

allow their admission as non-hearsay. Jordonne v. Ole Bar & Grill, Inc., No.

13CIV1573VBJCM, 2016 WL 3409088, at *6 (S.D.N.Y. Apr. 26, 2016), report and

recommendation adopted sub nom. Jordan v. Ole Bar & Grill, Inc., No. 13 CV 1573

(VB), 2016 WL 3360524 (S.D.N.Y. June 16, 2016).

       Walker will also proffer evidence that then-District Attorney Cosgrove read

Buffalo newspapers daily, creating a reasonable inference that stories in Buffalo

publications would in fact have put him on notice of reported misconduct. ECF No.

268 at 5. Accordingly, the Court finds that newspaper articles that otherwise satisfy

the Court’s rulings on municipal policy evidence are admissible for the limited

purpose of showing notice of relevant misconduct to support Walker’s relevant

theories of Monell liability. United States v. Briguet, No. 2:17-CV-3482, 2020 WL

6945929, at *1 (E.D.N.Y. Nov. 25, 2020) (finding articles relevant where defendant

testified he read the financial page each day, and article headlines were likely to catch

his eye).



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      Lastly, in terms of the trial management requested by the County, given the

guidance provided by these rulings, the Court DENIES the County’s request for

offers of proof outside the presence of the jury at this juncture. The County may renew

its motion if concerns arise during trial and of course the County will be free to make

a timely Rule 50 motion. See Fed. R. Civ. P. 50(a).

II.   Excluding References to People v. Ashley (ECF No. 229)

      At the final pretrial conference on March 3, 2025, the Court asked both parties

if they had any argument to add to their positions on County’s motion in limine to

preclude reference to an incident relative to the matter of People v. Ashley. Both

parties declined. The Court proceeded to explain why it was granting the County’s

motion pursuant to Fed. R. Evid. 403, and Plaintiff’s counsel then asked to be heard,

reiterating case law it cited in opposition to the County’s related motion to exclude

“certain Monell evidence.” The Court said it would reconsider Plaintiff’s papers and

reserved ruling on the issue of People v. Ashley. Upon further consideration, the

County’s motion in limine to preclude reference to an incident relative to the matter

of People v. Ashley is GRANTED.

      In People v. Ashley, the New York Supreme Court in Erie County declared a

mistrial in a murder case due to ADA Drury’s actions. While McLeod, who was

defense counsel, was in chambers with the judge and the lead prosecutor, ADA Drury

spoke to the defendant, alone, and passed along information he learned from the

defendant to the lead prosecutor, who then attempted to use that information in his

cross examination of the defendant. Challenged evidence in this case regarding this



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incident includes two published Buffalo news stories, the People v. Ashley judicial

decision itself, as well as the testimony of then-District Attorney Cosgrove and ADA

Drury describing the egregiousness of such an incident (if it had occurred) and the

fact that ADA Drury was never disciplined.

      The County argues, in part, that the timing of this incident relative to Walker’s

June 1977 trial and the dissimilarity of the violation involved to the disclosure and

summation violations alleged here, when balanced against its significant prejudicial

effect, renders evidence of this incident inadmissible. ECF No. 229-1 at 1–2. As

Plaintiff’s counsel reiterated at the final pretrial conference, Walker claims that

evidence about this incident is “directly relevant to [his] Monell theory of a policy of

deliberate indifference to misconduct by prosecutors in depriving criminal defendants

of their constitutional fair trial rights and the creation of an anything-goes

atmosphere where only winning mattered.” ECF No. 268 at 1. At the final pretrial

conference, Plaintiff’s attorneys emphasized that this incident is “about the worst

example in the record of misconduct that clearly violated the defendant’s

constitutional right to counsel,” and that ADA Drury “did it flagrantly in a highly

publicized murder trial because he knew that there would be no consequence even if

he was caught,” which goes to “this atmosphere of indifference that was created by

the [ECDA].”

      Pursuant to the Court’s ruling on the County’s motion to exclude “certain

Monell evidence,” People v. Ashley is inadmissible because the conduct at issue in that

case it is not sufficiently similar to any of the three types of constitutional violations



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alleged in Walker’s case and post-dates Walker’s 1976 preliminary hearing and 1977

trial. See Monell, 436 U.S. at 691 (even flagrant and obvious misconduct by a

municipal employee must be directly caused a municipal policy to impose liability on

the municipality under section 1983).

      Even without the Court’s prior ruling setting bounds around Walker’s

municipal policy evidence generally, and setting aside questions of hearsay, the Court

finds that evidence pertaining to People v. Ashley is inadmissible under Fed. R. Evid.

403. That this incident occurred a year and a half after Walker’s trial, almost two

years after the preliminary hearing, and does not remotely involve any of the three

types of constitutional violations alleged renders Ashley’s probative value minimal.

The Court finds its inflammatory nature cuts against its admissibility as being

unfairly prejudicial given its diminished probative value. Fed. R. Evid. 403.

   III.   Admitting Summaries of Voluminous Evidence (ECF No. 230-5)

      Walker seeks to introduce the following summaries: (i) evidence of misconduct

by prosecutors in the ECDA in criminal cases other than his own; (ii) documents that

Walker alleges were and were not disclosed to the defense before his criminal trial;

and (iii) the transcript of Walker’s criminal trial. ECF No. 230-5. The parties have

stipulated to at least portions of Walker’s criminal trial transcript for admission. The

Court will address any remaining disputes regarding redactions separately thereto

and thus DENIES the third request of Walker’s motion as MOOT. The Court

RESERVES on a summary as to Walker’s second request because the Court has not

been given an opportunity to review what may be contemplated.



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      In regards to Walker’s request to summarize evidence of misconduct by

prosecutors in the ECDA in criminal cases other than his own, the Court notes that

after discussion at the March 3 final pretrial conference of the County’s motion in

limine to preclude certain alleged Monell evidence (ECF No. 222) and motion to

preclude reference to an incident relative to the matter of People v. Ashley (ECF No.

229), Walker was asked to annotate his proposed summary chart to include the

purposes for which he sought to include each of the items listed on the chart. Walker

did so (ECF No. 291), and the County made specific objections (ECF No. 296).

      Consistent with the foregoing discussion of the principles applicable to the

County’s motion to preclude certain alleged Monell evidence, the Court examined

Walker’s proposed summary chart to determine whether the “incidents” listed were

properly admissible under the rules of evidence; were specific enough to the violations

alleged in the present case; and were committed at a time that Walker may plausibly

suggest gave the policymakers “notice” of conduct consistent with the theories of

Monell liability he intends to demonstrate.

      With respect to the admissibility of the documents, as Judge Wolford noted in

Ferrari Club of Am., Inc. v. Bourdage, No. 6:12-CV-06530 EAW, 2017 WL 1498080,

at *6 (W.D.N.Y. Apr. 25, 2017), where a party introduces a summary chart under Fed.

R. Evid. 1006, “the court must ascertain with certainty that they are based upon and

fairly represent competent evidence already before the jury.” Id. (quoting United

States v. Conlin, 551 F.2d 534, 538 (2d Cir. 1977)). That is, “[s]ummary evidence is

admissible as long as the underlying documents also constitute admissible evidence



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and are made available to the adverse party.” Tamarin v. Adam Caterers, Inc., 13

F.3d 51, 53 (2d Cir. 1993).

      With respect to the similarity of the evidence to the misconduct alleged, as

stated above, the incidents must relate to a violation of the “specific constitutional or

statutory right[s]” alleged in Walker’s Amended Complaint. Bd. of Cnty. Comm’rs of

Bryan Cnty., Okl. v. Brown, 520 U.S. 397, 409 (1997); see also Iacovangelo, 624 F.

App’x at 14 (examining cases for evidence of a “custom of not providing adequate

medical supervision for inmates going through drug or alcohol withdrawal”).

      With respect to the time at which notice of the incidents occurred, as discussed

above, the Supreme Court has stated that “contemporaneous or subsequent conduct

cannot establish a pattern of violations that would provide ‘notice to the [policymaker]

and the opportunity to conform to constitutional dictates . . . .” Connick, 563 U.S. at

63 n.7.

      Incidents Which May Be Included

      The County’s objections are overruled, and – subject to the limitations outlined

above regarding newspaper articles, judicial decisions, and appellate briefs – the

following “incidents” may be admissible for the limited purpose of attempting to

demonstrate that the County of Erie had notice of violations by County prosecutors

of defendants’ constitutional rights:

      Incident No. 1

      Incident No. 12

      Incident No. 13



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       Incident No. 14

       Incident No. 16

       Incident No. 17

       Incident No. 18

       Incident No. 19

       Incident No. 20

       Incidents Which May Not Be Included

       The County’s objections are sustained, and the following incidents may not be

admitted into evidence or included in the chart because the severity of the alleged

misconduct is ambiguous, and the probative value of Walker’s proffered evidence is

thus far outweighed by the danger of unfair prejudice:

       Incident No. 3 (see People v. Clark, 89 A.D.2d 820 (N.Y. App. Div. 1982)

(“reject[ing] defendants’ contention that the late disclosure of exculpatory material

denied them a fair trial in violation of Brady . . . .”))

       Incident No. 15 (see People v. Freeland, 45 A.D.2d 814, 915 (N.Y. App. Div.

1974) (“While we do not condone the excesses of the District Attorney’s summation it

was not . . . of such a nature as to deprive defendants of a fair trial.”))

       The County’s objections are sustained, and the following incidents may not be

admitted into evidence or included in the chart because the relevant evidence

constitutes inadmissible legal argument:

       Incident No. 2

       Incident No. 7



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       Incident No. 8

       The County’s objections are sustained, and the following incidents may not be

admitted into evidence or included in the chart because the alleged notice occurred

subsequent to Walker’s trial and could not plausibly be said to give notice to the

policymaker, and because they are too dissimilar to the constitutional violations that

Plaintiff alleges:

       Incident No. 21

       Incident No. 24

       Incident No. 36

       Incident No. 37

       Incident No. 38

       Incident No. 39

       Incident No. 40

       The County’s objections are sustained, and the following incidents may not be

admitted into evidence or included in the chart because they are too dissimilar to the

constitutional violations that Plaintiff alleges:

       Incident No. 28

       Incident No. 29

       Incident No. 30

       Incident No. 31

       Incident No. 32

       Incident No. 33



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      Incident No. 34

      Incident No. 35

      The County’s objections are sustained, and the following incidents may not be

admitted into evidence or included in the chart because the alleged notice occurred

subsequent to Walker’s trial and could not plausibly be said to give notice to the

policymaker of the constitutional violations that Plaintiff alleges:

      Incident No. 4

      Incident No. 5

      Incident No. 6

      Incident No. 9

      Incident No. 10

      Incident No. 11

      Incident No. 22

      Incident No. 23

      Incident No. 25

      Incident No. 26

      Incident No. 27

      Based on the foregoing rulings, Plaintiff’s motion to admit its summary of

voluminous Monell evidence, is DENIED. A summary chart is intended to

summarize and organize voluminous evidence to aid the jury. The proposed chart is

not concise, and includes argument and characterizations of the evidence inconsistent

with a factual summary. Further, the universe of admissible municipal policy



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evidence is less voluminous than originally proposed.

      The Court leaves open the possibility, subject to the Court’s reasoning and

rulings in limine, that Walker revise his proposed chart for reevaluation, the parties

stipulate to a concise summary chart, or that Walker pursue the use of charts as

demonstratives without intending to admit them as full exhibits. The Court also notes

that after the pretrial conference on March 17, 2025, Walker has withdrawn Elliot

Shields as a witness, who was intended to introduce the chart to the jury.

      Lastly, the Court takes seriously the potential for prejudice to the County in

admitting a prior judicial decision due to the reality that “jurors are especially

sensitive to judicial determinations . . . .” Haynes v. Acquino, No. 10-CV-355F, 2018

WL 3126725, at *5 (W.D.N.Y. June 26, 2018), aff’d, 771 F. App’x 75 (2d Cir. 2019)

(citing Brundidge v. City of Buffalo, 79 F.Supp.2d 219, 223 n. 2 (W.D.N.Y. 1999);

Carter v. Burch, 34 F.3d 257, 265 (4th Cir. 1994)). Accordingly, the Court will address

issues with specific underlying exhibits as they are raised by counsel.

                                       ORDER

      For the reasons stated, IT IS HEREBY ORDERED that the County’s motion

in limine to preclude certain Monell evidence is GRANTED IN PART AND DENIED

IN PART, ECF No. 222; and it is further

      ORDERED that the County’s motion in limine to preclude references to People

v. Ashley is GRANTED, ECF No. 229; and it is further

      ORDERED that Walker’s motion in limine to admit summaries of voluminous

evidence is DENIED, ECF No. 230-5.



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     SO ORDERED.


Dated:     March _____, 2025
           Rochester, New York


                                  ________________________________________
                                  HON. MEREDITH A. VACCA
                                  United States District Judge




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